               IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                             1:18 CV 2

SARAH B. CONNER,                           )
individually and on behalf of all others   )
similarly situated,                        )
                                           )
                  Plaintiff,               )
                                           )
      v.                                   )     MEMORANDUM AND
                                           )     RECOMMENDATION
CLEVELAND COUNTY, NORTH                    )
CAROLINA also known as                     )
Cleveland County Emergency                 )
Medical Services,                          )
                                           )
                 Defendant.                )
___________________________________        )

      This matter is before the Court on Defendant’s Motion to Dismiss (Doc.

40)1, which has been referred to the undersigned pursuant to 28 U.S.C.

§ 636(b)(1)(B). Following a review of the Motion, the parties’ submissions, and

applicable authorities, and for the reasons discussed below, the undersigned

respectfully recommends that the Motion be granted.

I.    Relevant Procedural Background

      Plaintiff Sarah B. Conner (“Conner”) filed this action on January 2, 2018,

naming Cleveland County Emergency Medical Services as the sole defendant.




1
 As discussed below, the Motion should be deemed a motion for judgment on the
pleadings.


     Case 1:18-cv-00002-MR-WCM Document 52 Filed 06/27/19 Page 1 of 16
(Doc. 1). Plaintiff’s original Complaint contained claims for violations of the

Fair Labor Standards Act (“FLSA”) and the North Carolina Wage and Hour

Act.

        On January 30, 2018, Cleveland County (“County”) filed its Answer and

Affirmative Defenses (Doc. 3).2

        An Initial Scheduling Order was entered by the District Court on March

2, 2018 (Doc. 9).

        On March 14, 2018, Conner filed a motion seeking leave to amend her

Complaint. The motion was denied as being in violation of the Local Rules.

(Docs. 11, 12).

        On April 2, 2018, the parties stipulated to the dismissal of Conner’s

North Carolina Wage and Hour Act claim. (Doc. 14)

        On May 1, 2018, Conner filed a renewed motion for leave to amend along

with a supporting memorandum. (Docs. 15, 16). Specifically, Conner sought to

amend her original Complaint to name the County as the correct defendant

and to add a claim for breach of contract under North Carolina law. The County

responded (Doc. 19), and Conner replied (Doc. 20). Conner’s motion was

allowed by Order filed on June 1, 2018 (Doc. 21).

        On June 5, 2018, Conner filed her First Amended Class/Collective Action


2
 The County answered as Cleveland County Emergency Medical Services was not a
distinct legal entity.

                                        2

       Case 1:18-cv-00002-MR-WCM Document 52 Filed 06/27/19 Page 2 of 16
Complaint (“Amended Complaint”) (Doc. 22).

       The County answered (Doc. 27) on July 2, 2018.

       On July 27, 2018, the District Court entered an Amended Pretrial Order

and Case Management Plan (Doc. 30). On October 10, 2018, on the parties’

joint motion, certain pre-trial deadlines were extended. See (Doc. 34).

       On December 21, 2018, the County filed the instant Motion to Dismiss

(Doc. 40), along with a supporting memorandum (Doc. 41). Conner responded

(Docs. 43, 44), and the County replied (Doc. 47).

II.    Relevant Factual Background

       Conner’s Amended Complaint alleges as follows:

       Cleveland County Emergency Medical Services (“CCEMS”) is a branch

of Cleveland County local government and provides emergency and

nonemergency services to sick and injured persons. Amended Complaint ¶¶

16, 20 – 21.

       Full-time EMS personnel work on a 21-day repeating schedule that

consists of 24-hour shifts followed by 48-hours off. The workweek begins at 7

AM each Thursday and ends the following Thursday at 6:59 AM. Id. ¶¶ 22 –

25.

       The County has adopted a “pay plan” that establishes salary grades, and

steps within grades, for full-time county personnel, including EMS personnel

(“County Pay Plan”). Id. ¶¶ 28 – 29.

                                       3

      Case 1:18-cv-00002-MR-WCM Document 52 Filed 06/27/19 Page 3 of 16
        Prior to January 1, 2018, the County did not pay full-time EMS

personnel regular wages during each semi-monthly pay cycle that were equal

to 1/24 of their annual salaries in accordance with the County Pay Plan. Id. ¶

45.

        Instead, full-time EMS personnel were paid pursuant to a separate pay

plan appearing in the CCEMS Standard Operating Guidelines entitled the

“Section 14 – Pay Plan”. Id. ¶ 44.

III.    Legal Standard

        The County answered Conner’s Amended Complaint in July 2018 and

subsequently filed the instant Motion in December 2018. Consequently, and as

the County acknowledges, the Motion should be considered as being a motion

for judgment on the pleadings pursuant to Rule 12(c) of the Rules of Civil

Procedure. See Memorandum of Law in Support of County’s Motion to Dismiss

(Doc. 41) at 7. The standards for analyzing such motions are the same as those

used for motions made under Rule 12(b)(6). See Edwards v. City of Goldsboro,

178 F.3d 231, 243 (4th Cir. 1999).

        The central issue in a motion to dismiss made pursuant to Rule 12(b)(6)

is whether the complaint states a plausible claim for relief. See Francis v.

Giacomelli, 588 F.3d 186, 189 (4th Cir. 2009). “A claim has facial plausibility

when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.”

                                        4

       Case 1:18-cv-00002-MR-WCM Document 52 Filed 06/27/19 Page 4 of 16
Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009); accord Nemet Chevrolet, Ltd. v.

Consumeraffairs.com, Inc., 591 F.3d 250, 255 (4th Cir. 2009). That is, while

“detailed factual allegations” are not required, a claim must contain sufficient

factual allegations to support the required elements of a cause of action. Bell

Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007); see Consumeraffairs.com,

591 F.3d at 256. The mere possibility that a defendant acted unlawfully is not

sufficient for a claim to survive a motion to dismiss. Consumeraffairs.com, 591

F.3d at 256; Giacomelli, 588 F.3d at 193.

       In conducting this analysis, the court accepts the allegations in the

complaint as true and construes them in the light most favorable to the

plaintiff. Consumeraffairs.com, 591 F.3d at 253; Giacomelli, 588 F.3d at 192.

The court, however, is not required to accept as true “legal conclusions,

elements of a cause of action, and bare assertions devoid of further factual

enhancement.” Consumeraffairs.com, 591 F.3d at 255; see Giacomelli, 588 F.3d

at 192. Rule 8 of the Rules of Civil Procedure “demands more than an

unadorned, the defendant-unlawfully-harmed-me accusation.” Iqbal, 556 U.S.

at 678.




IV.    Discussion

                                       5

      Case 1:18-cv-00002-MR-WCM Document 52 Filed 06/27/19 Page 5 of 16
      A. Effect of Conner’s Prior Motion to Amend

      An initial question is whether the allowance of Conner’s previous motion

to amend determines the fate of the County’s current Motion. In particular,

Conner contends that the arguments now raised by the County were made

previously in response to Conner’s motion to amend and rejected by the Court.3

Consequently, Conner reasons, those issues have been decided in her favor

such that the County’s Motion is tantamount to “an improper motion for

reconsideration.” Pl.’s Oppos. (Doc. 43) at 2 – 4. The County argues to the

contrary that the Court’s previous allowance of Conner’s motion to amend

pursuant to Rule 15 does not preclude the Court from considering the County’s

current Motion. Def.’s Reply (Doc. 47) at 2 – 6.

      A district court is justified in denying a motion to amend on futility

grounds where the proposed amendment cannot withstand a motion to

dismiss. Perkins v. United States, 55 F.3d 910, 917 (4th Cir. 1995); see also

Equal Rights Ctr. v. Niles Bolton Assocs., 602 F.3d 597, 603 (4th Cir. 2010)

(court “may deny” a motion to amend due to prejudice, bad faith, or futility).

However, it does not necessarily follow that a court’s decision to allow a motion

to amend prohibits consideration of a motion to dismiss that may later be filed,


3
 The County argued that Conner should not be allowed to assert a claim for breach
of contract as such a claim would be futile. The County made a similar argument with
respect to Conner's FLSA claim, though the County had not previously challenged
that claim by way of a motion to dismiss.

                                         6

     Case 1:18-cv-00002-MR-WCM Document 52 Filed 06/27/19 Page 6 of 16
particularly as it is the Fourth Circuit’s “policy to liberally allow amendment

in keeping with the spirit of Federal Rule of Civil Procedure 15(a).” Galustian

v. Peter, 591 F.3d 724, 729 (4th Cir. 2010).

      Therefore, the undersigned is not persuaded that the previous ruling on

Conner’s motion to amend forecloses consideration of the County’s Motion.

      B. Fair Labor Standards Act Claim

      The pleading requirements established by the Fourth Circuit for FLSA

claims are set forth in Hall v. DIRECTV, LLC, 846 F.3d 757 (4th Cir. 2017).

There, the court discussed varying standards that had developed, noting that

some courts had required plaintiffs “to provide an approximation of the number

of hours for which they were inadequately compensated to state a plausible

overtime claim,” while others required plaintiffs only to “sufficiently allege 40

hours of work in a given workweek as well as some uncompensated time in

excess of the 40 hours.” Id. at 776.

      The Fourth Circuit adopted the latter, which it called “a more lenient

approach,” and held as follows:

            Thus, to make out a plausible overtime claim, a
            plaintiff must provide sufficient factual allegations to
            support a reasonable inference that he or she worked


            more than forty hours in at least one workweek and
            that his or her employer failed to pay the requisite
            overtime premium for those overtime hours.


                                       7

     Case 1:18-cv-00002-MR-WCM Document 52 Filed 06/27/19 Page 7 of 16
            Id. at 777.

      The court went on to explain that while plaintiffs must “do more than

merely allege that they regularly worked in excess of forty hours per week

without receiving overtime pay,” plaintiffs are not required “to identify a

particular week in which they worked uncompensated overtime hours.” Id.

(emphasis in original). Instead, plaintiffs should “provide some factual context

that will ‘nudge’ their claim ‘from conceivable to plausible.’” Id. A plaintiff can

meet this standard “by estimating the length of her average workweek during

the applicable period and the average rate at which she was paid, the amount

of overtime wages she believes she is owed, or any other facts that will permit

the court to find plausibility.” Id. (emphasis in original).

      In the instant case, the parties vigorously dispute how this standard

should be applied to Conner’s Amended Complaint. The County argues that

Conner has failed to plead affirmatively that she worked more than 40 hours

in a given week and to provide information regarding the overtime payments

she alleges she should have received, while Conner argues that she has

adequately pled an overtime claim.

      Conner’s Amended Complaint alleges that full-time EMS personnel work

a 21-day repeating schedule comprised of a 24-hour shift followed by 48 hours

off (¶ 24). Conner alleges that she and other similarly-situated current and

former full-time EMS personnel worked this schedule. (¶ 59); Consent to

                                        8

     Case 1:18-cv-00002-MR-WCM Document 52 Filed 06/27/19 Page 8 of 16
Become Party Plaintiff (“I worked the 24 hours on – 48 hours off schedule

during one or more work weeks of my employment.”) Am. Compl. (Doc. 22) at

16.

       Though Conner’s allegations regarding the number of hours she worked

are sparse, they are sufficient. Conner is not required to identify a particular

week she worked in excess of 40 hours, but rather to “provide sufficient factual

allegations to support a reasonable inference that . . . she worked more than

forty hours in at least one workweek.” Hall, 846 F.3d at 777. Her description

of the 21-day schedule and her allegation that she and others worked according

to it by definition indicate that Conner worked more than 40 hours per week

every week.

       However, the Hall standard also requires a plaintiff to provide sufficient

factual allegations to support a reasonable inference that her employer failed

to pay the requisite overtime premium for her overtime hours. Id. Conner’s

claim is lacking in this regard.

       Conner acknowledges that she “does not allege the usual claim for

unpaid and paid overtime where employees seek overtime pay for work

performed ‘off the clock.’” Pl.’s Oppos. (Doc. 43) at 12. Rather, Conner contends

that she had a contractual right to be paid pursuant to the County Pay Plan

but instead was paid pursuant to the Section 14 – Pay Plan, and that this

practice resulted in two problems—a breach of the County’s contract with

                                        9

      Case 1:18-cv-00002-MR-WCM Document 52 Filed 06/27/19 Page 9 of 16
Conner and, simultaneously, a violation of the FLSA.

      Specifically as to the first, Conner argues that the County stopped paying

her straight time before she had received all of the straight time due to her;

she alleges that she earned $1537.50 in straight time per pay cycle but only

received $1092.00 of straight time each pay cycle. Am. Compl. (Doc. 22) ¶ 46.

      As to the alleged FLSA violation, Conner argues that the next payments

to her (following the partial straight time) were improperly classified as

“overtime,” though they could not be “overtime” since she had not yet received

all of her straight time. See Pl.’s Oppos. (Doc. 43) at 14 (“Conner alleges that

Defendant violated the FLSA by improperly designating compensation paid to

Conner . . . for hours worked in excess of 40 as ‘overtime pay,’ without first

paying all straight – time wages.”).

      Missing, however, is a description of how, through this misclassification,

the County “failed to pay the requisite overtime premium for those overtime

hours.”   Hall, 846 F.3d at 777.       While the Amended Complaint contains

conclusory statements to this effect, supporting factual allegations are not

provided. In addition, Conner’s overall theory is at odds with those conclusory

statements.



      The example appearing in Conner’s Opposition illustrates the point.



                                        10

    Case 1:18-cv-00002-MR-WCM Document 52 Filed 06/27/19 Page 10 of 16
            By way of example, assume that under the Cleveland
            County Code of Ordinances Conner’s salary is $1,500
            each workweek (i.e., straight-time wages), plus
            overtime. Assume further that in a given workweek,
            Conner earned $750 in overtime pay. Finally, assume
            Defendant then issues Conner a paycheck in the
            amount of $1,750, with a paystub that designates
            payment of $1,000 as “salary” and $750 as “overtime
            compensation.” In this scenario, there is both a breach
            of contract and a violation of the FLSA. The breach of
            contract is the failure to pay all of Conner’s wages,
            including her full salary. The FLSA violation is the
            improper designation of $750 as “overtime pay,”
            without first having paid all straight-time wages.

            Pl.’s Oppos. (Doc. 43) at 14-15.

      The overtime payment of $750 was made in its entirety; the unpaid funds

represent the alleged remainder of her straight time, not additional overtime.

As Conner says, “[t]he FLSA violation arises solely from Defendant’s failure to

pay all straight time wages each pay period, prior to paying ‘overtime

compensation.’” Id. at 15.

      Conner’s FLSA claim is brought pursuant to 29 U.S.C. § 216(b), which

states that “[a]ny employer who violates the provisions of section 206 or section

207 of this title shall be liable to the employee or employees affected in the

amount of their . . . unpaid overtime compensation . . . and in an additional

equal amount as liquidated damages.” However, Conner’s Amended Complaint

does not include factual allegations sufficient to support an inference that the

County has failed to pay Conner the appropriate amount of overtime. The


                                       11

    Case 1:18-cv-00002-MR-WCM Document 52 Filed 06/27/19 Page 11 of 16
undersigned will therefore recommend dismissal of Conner’s FLSA claim.

      C. Breach of Contract Claim

      Pursuant to 28 U.S.C. § 1367(c), a district court “may decline to exercise

supplemental jurisdiction over a claim . . . if the district court has dismissed

all claims over which it has original jurisdiction.”

      In the instant case, Conner’s FLSA claim creates the basis for federal

jurisdiction over this action. If this claim is dismissed as recommended, that

basis will be gone, leaving only Conner’s contract claim under North Carolina

law. Consequently, the undersigned will recommend that the District Court

decline to exercise supplemental jurisdiction over Conner’s remaining claim for

breach of contract and that such claim be dismissed without prejudice.

      In the alternative, if Conner’s FLSA claim is not dismissed and original

federal question jurisdiction remains in place, the undersigned will

recommend that the County’s Motion be denied as to Conner’s breach of

contract claim.

      The County first argues that dismissal of Conner’s contract claim is in

order because the Amended Complaint does not include an affirmative

allegation that the County has waived its sovereign immunity. Def.’s Mem.

(Doc. 41) at 18-21. To overcome the defense of sovereign immunity, a plaintiff’s

complaint must include an affirmative allegation that immunity has been

waived. Fabrikant v. Currituck Cty., 621 S.E.2d 19, 25 (N.C. Ct. App. 2005)

                                        12

    Case 1:18-cv-00002-MR-WCM Document 52 Filed 06/27/19 Page 12 of 16
(quoting Paquette v. Cty. of Durham, 573 S.E.2d 715, 717 (N.C. Ct. App. 2002)

(internal citations omitted)). However, North Carolina appellate courts have

held that where, as here, a plaintiff’s claim sounds in contract, an affirmative

waiver allegation is not needed, since sovereign immunity is not available as a

defense against contract claims. Wray v. City of Greensboro, 802 S.E.2d 894,

899 (N.C. 2017) (citations omitted).

      The County also argues that Conner has not sufficiently alleged the

existence of a valid contract between herself and the County. Def.’s Mem. (Doc.

41) at 21-25.    Though Conner’s allegations are not detailed, Conner has

nonetheless provided information about the County Pay Plan, the County’s

alleged breach of it, the Section 14-Pay Plan4, and the unpaid wages she claims

to be owed.




4
 The County argues that a copy of the Section 14-Pay Plan, which Conner attached
to her opposition to the Motion and her counsel represents was produced by the
County, should not be considered. While matters beyond the pleadings are generally
not considered in the context of a Rule 12(b)(6) motion, documents attached to the
complaint or the motion to dismiss may be considered “if they are integral to the
complaint and authentic.” Philips v. Pitt Cty. Mem'l Hosp., 572 F.3d 176, 180 (4th
Cir. 2009) (citation omitted). Similarly, “[d]ocuments that plaintiffs attach to their
response to a defendant's motion to dismiss are not considered when those documents
were not explicitly relied upon or referenced in the complaint.” Aloi v. Moroso Inv.
Partners, LLC, No. CIV.A. DKC 11-2591, 2012 WL 4341741, at *5 (D. Md. Sept. 20,
2012) (citing Braun v. Maynard, 652 F.3d 557, 559 n. 1 (4th Cir. 2011)). Here, the
Section 14-Pay Plan is integral to Conner’s claims. Further, though the County
argues the document is not a public record, the County has not objected to the
document’s authenticity or Plaintiff counsel’s representation that it was produced by
the County.
                                         13

    Case 1:18-cv-00002-MR-WCM Document 52 Filed 06/27/19 Page 13 of 16
      Such a claim is recognized by North Carolina law. See Archer v.

Rockingham Cty., 548 S.E.2d 788, 792-93 (N.C. Ct. App. 2001) (agreeing with

assertion by former and current emergency medical technicians that their

employment arrangement with county was contractual in nature, although the

contract was implied); Paquette, 573 S.E.2d at 718 (“The relationship of

employer and employee is essentially contractual in its nature, and should be

determined by the rules governing the establishment of contracts, express or

implied.”); Stellar Ins. Grp., Inc. v. Cent. Companies, LLC, No. 2:06CV11, 2006

WL 2862218, at *7 (W.D.N.C. Sept. 12, 2006), report and recommendation

adopted, 2006 WL 2862214 (Oct. 3, 2006) (“The North Carolina courts have

specifically held that even where an employee was ‘at will,’ a “[p]laintiff's claim

for unpaid wages is contractual, rather than tortious, in nature.”) (citations

omitted).

V.    Recommendation

      Based on the foregoing, the undersigned respectfully RECOMMENDS:

      1.     That Defendant’s Motion to Dismiss (construed as a Motion for

             Judgment on the Pleadings) (Doc. 40) be GRANTED;

      2.     That Plaintiff’s FLSA claim be DISMISSED; and

      3.     That the District Court decline to exercise supplemental

             jurisdiction over Plaintiff’s breach of contract claim and that such

             claim be DISMISSED WITHOUT PREJUDICE.

                                        14

     Case 1:18-cv-00002-MR-WCM Document 52 Filed 06/27/19 Page 14 of 16
     In the alternative, if Plaintiff’s FLSA claim is not dismissed, the

undersigned recommends that Defendant’s Motion as to Plaintiff’s breach of

contract claim be DENIED.




                            Signed: June 27, 2019




                                       15

    Case 1:18-cv-00002-MR-WCM Document 52 Filed 06/27/19 Page 15 of 16
                             Time for Objections

      The parties are hereby advised that, pursuant to Title 28, United States

Code, Section 636(b)(1)(C), and Federal Rule of Civil Procedure 72(b)(2),

written objections to the findings of fact, conclusions of law, and

recommendation contained herein must be filed within fourteen (14) days of

service of same. Responses to the objections must be filed within fourteen (14)

days of service of the objections. Failure to file objections to this Memorandum

and Recommendation with the presiding District Judge will preclude the

parties from raising such objections on appeal. See Thomas v. Arn, 474 U.S.

140, 140 (1985); United States v. Schronce, 727 F.2d 91, 94 (4th Cir. 1984).




                                      16

    Case 1:18-cv-00002-MR-WCM Document 52 Filed 06/27/19 Page 16 of 16
